            Case 6:20-cv-00783-ADA Document 16 Filed 09/29/20 Page 1 of 5

                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION
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vs.                                                 Case No.: 6:20-cv-00783-ADA
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                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Alessandra C. Messing                                    , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent plaintiff WSOU Investment, LLC                    in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Brown Rudnick LLP                                        with offices at:

               Mailing address: Seven Times Square

               City, State, Zip Code: New York, NY 10036

               Telephone: 212-209-4813                      Facsimile: 212-938-2990


       2.      Since    5/14/2012                             , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of New York                     .

               Applicant's bar license number is 5040019                                                .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               Eastern District of Texas                    4/11/2016
     Case 6:20-cv-00783-ADA Document 16 Filed 09/29/20 Page 2 of 5

4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):

       N/A




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number: 6:20-cv-00725-ADA            on the 18     day of August                 , 2020 .

      Number: 6:20-cv-00726-ADA            on the 18     day of August                 , 2020 .

      Number: 6:20-cv-00727-ADA           on the 18 day of August                  , 2020 .
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6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
       N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):

       N/A




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
Case 6:20-cv-00783-ADA Document 16 Filed 09/29/20 Page 3 of 5
         Case 6:20-cv-00783-ADA Document 16 Filed 09/29/20 Page 4 of 5




                                       ATTACHMENT A

5. I have previously applied to Appear Pro Hac Vice in this district court in Cases[s]:

Number: 6:20-cv-00728-ADA on the 18 day of August, 2020

Number: 6:20-cv-00729-ADA on the 18 day of August, 2020

Number: 6:20-cv-00730-ADA on the 18 day of August, 2020
              Case 6:20-cv-00783-ADA Document 16 Filed 09/29/20 Page 5 of 5

                                    UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION

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                                                             ORDER

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plaintiff WSOU Investment, LLC                                      DQGWKH&RXUWKDYLQJUHYLHZHGWKHPRWLRQHQWHUV

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Alessandra C. Messing                                PD\DSSHDURQEHKDOIRI plaintiff WSOU Investment, LLC

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                                                     September                                                   20
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                                                                      UNITED STATES DISTRICT JUDGE
